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3
                                   UNITED STATES DISTRICT COURT
4                                 CENTRAL DISTRICT OF CALIFORNIA

5
      GUADALUPE A.,                                     Case No. 5:20-CV-01340 (VEB)
6
                             Plaintiff,                 JUDGMENT
7
      vs.
8
      KILOLO KIJAKAZI, Acting Commissioner of
      Social Security,
9
                            Defendant.
10

11          For the reasons set forth in the accompanying Decision and Order, it is hereby DECREED

     THAT (1) Plaintiff’s request for an order remanding this case for further proceedings is GRANTED
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     and the Commissioner’s decision is REVERSED; (2) the Commissioner’s request for an order
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     affirming the Commissioner’s final decision and dismissing the action is DENIED; (3) judgment is
14
     entered in Plaintiff’s favor and this matter is REMANDED for further proceedings consistent with
15   the Decision and Order; and (4) this case is CLOSED without prejudice to a timely application for

16   attorneys’ fees and costs.

17          DATED this 18th day of October 2021,

                                                       /s/Victor E. Bianchini
18                                                     VICTOR E. BIANCHINI
                                                  UNITED STATES MAGISTRATE JUDGE
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                   JUDGMENT – GUADALUPE A. v KIJAKAZI 5:20-CV-01340-VEB
